     Case: 1:18-cv-01297 Document #: 31 Filed: 08/13/18 Page 1 of 1 PageID #:141

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Chasity Watkins
                                                 Plaintiff,
v.                                                            Case No.: 1:18−cv−01297
                                                              Honorable Thomas M. Durkin
VHS West Suburban Medical Center, Inc., et
al.
                                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 13, 2018:


        MINUTE entry before the Honorable Thomas M. Durkin:Status hearing held on
8/13/2018. Discovery ordered closed by 1/31/2019. Status hearing set for 11/13/2018 at
09:00 AM. Plaintiff is granted leave to file a supplement to the medical certification
affidavit. Mandatory initial disclosures are waived. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
